                                                                  Case 2:21-cv-02116-CBM-KES    Document 104-2     Filed 02/21/25   Page 1 of 3 Page
                                                                                                    ID #:1431


                                     Aryeh
                                     Aryeh Kaufman,
                                             Kaufman, Esq.
                                                       Esq. (SBN:
                                                             (SBN: 289745)
                                                                   289745)
                                   1 aryeh@akaufmanlegal.com
                                 \OOOQONU‘I-RUJNt—t


                                     aryeh@akaufmanlegal.com
                                   2 LAW
                                     LAW     OFFICE
                                             OFFICE OF OF ARYEH
                                                           ARYEH KAUFMAN
                                                                    KAUFMAN
                                     5482
                                     5482 Wilshire
                                            Wilshire Blvd.,
                                                     BlVd., PMB
                                                            PMB 1907
                                                                 1907
                                   3 Los
                                     Los  Angeles,
                                          Angeles,  CA
                                                    CA  90036
                                                        90036
                                     Tel:
                                     Tel: (323)
                                          (323) 943-2566
                                                 943-2566
                                   4 Fax:
                                     Fax: (213)
                                           (213) 402-8598
                                                 402-8598
                                   5 Attorne
                                     Attorneyss for Plaintiffs,
                                                 orPlaim‘i   s,
                                   6 FLIGHTBLITZ,
                                     FLIG    T   LITZ,   INC.
                                                         I  C.  and
                                                                and DAVID
                                                                    DAVID KAYE
                                                                          KAYE

                                   7
                                   8
                                                                                   UNITED
                                                                                   UNITED STATES
                                                                                           STATES DISTRICT
                                                                                                  DISTRICT COURT
                                                                                                           COURT
                                   9                                      CENTRAL
                                                                          CENTRAL DISTRICT
                                                                                  DISTRICT OF
                                                                                           OF CALIFORNIA, WESTERN DIVISION
                                                                                              CALIFORNIA, WESTERN DIVISION
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11 FLIGHTBLITZ,
   FLIGHTBLITZ, INC.,
                INC., et
                      et al.,
                         al.,                                                                                Case No. 2:21-cv-02116-CBM-KES
                                                                                                             Case No. 2:21-cv-02l 16-CBM-KES

12                                                                                                           DECLARATION OF LEVI
                                                                              Plaintiffs,
                                                                              Plaintiffs,                    LESCHES IN SUPPORT OF
13                                                                                                                               To
                                                                                                             PLAINTIFFS’ MOTION TO
                                                                     v.
                                                                     V.                                      AMEND SCHEDULING ORDER
14                                                                                                           PURSUANT TO FED. R. CIV. P.
                                                                   TZELL
                                                                   TZELL TRAVEL,
                                                                         TRAVEL, LLC,
                                                                                 LLC, et
                                                                                      et al.,                16(b)
15
16                                                                            Defendants.
                                                                              Defendants.

17                                                                                                           Hearing
                                                                                                             Hearing Date:
                                                                                                                     Date:   March
                                                                                                                             March 25,
                                                                                                                                    25, 2025
                                                                                                                                        2025
                                                                                                             Time:
                                                                                                             Time:           10:00
                                                                                                                             10:00 a.m.
                                                                                                                                   am.
18                                                                                                           Courtroom:
                                                                                                             Courtroom:      8D
                                                                                                                             8D

19
                                                                                                             Judge:
                                                                                                             Judge: Hon.
                                                                                                                    Hon. Consuelo
                                                                                                                         Consuelo B.
                                                                                                                                  B. Marshall
                                                                                                                                     Marshall
20
21
22
23
24
25
26
27
28

                                                                                                        11
                                                                                            DECLARATION
                                                                                            DECLARATION OF
                                                                                                        OF LEVI
                                                                                                           LEVI LESCHES
                                                                                                                LESCHES
                                                                     Case 2:21-cv-02116-CBM-KES      Document 104-2      Filed 02/21/25   Page 2 of 3 Page
                                                                                                         ID #:1432



                                   1                                                      DECLARATION
                                                                                          DECLARATION OF
                                                                                                      OF LEVI
                                                                                                         LEVI LESCHES
                                                                                                              LESCHES
                                 \DOO\lO\M4>LNNr—t




                                   2                                       I,
                                                                           I, Levi
                                                                              Levi Lesches,
                                                                                   Lesches, declare
                                                                                            declare as
                                                                                                    as follows:
                                                                                                       follows:

                                   3                                       1.
                                                                           1.     II am
                                                                                     am an
                                                                                        an attorney
                                                                                           attorney duly
                                                                                                    duly admitted
                                                                                                         admitted to practice law
                                                                                                                  to practice     before this
                                                                                                                              law before this Court.
                                                                                                                                              Court. II am
                                                                                                                                                        am

                                   4 the principal of
                                     the principal    the Lesches
                                                   of the Lesches Law,
                                                                   Law, the
                                                                         the former
                                                                              former counsel
                                                                                      counsel for
                                                                                              for Plaintiffs
                                                                                                  Plaintiffs David
                                                                                                             David Kaye
                                                                                                                   Kaye and
                                                                                                                         and

                                   5 FlightBlitz,
                                     FlightBlitz, Inc.
                                                  Inc. (collectively,
                                                       (collectively, “Plaintiffs”).
                                                                      “Plaintiffs”). This
                                                                                     This declaration
                                                                                          declaration is
                                                                                                      is submitted
                                                                                                         submitted in
                                                                                                                   in support
                                                                                                                      support

                                   6 of
                                     of Plaintiffs’
                                        Plaintiffs’ motion to amend
                                                    motion to amend the
                                                                    the scheduling
                                                                        scheduling order    pursuant to
                                                                                     order pursuant  to Fed.
                                                                                                        Fed. R.
                                                                                                             R. Civ.
                                                                                                                 Civ. P.
                                                                                                                      P.

                                   7 16(b).
                                     16(b). II have personal knowledge
                                               have personal knowledge of
                                                                        of the
                                                                           the facts
                                                                               facts set
                                                                                     set forth
                                                                                         forth herein,
                                                                                               herein, except
                                                                                                       except as to those
                                                                                                              as to those

                                   8 stated
                                     stated on
                                            on information
                                                information and    belief and,
                                                              and belief  and, as
                                                                                as to
                                                                                   to those,
                                                                                      those, II am
                                                                                                am informed
                                                                                                   informed and
                                                                                                             and believe
                                                                                                                  believe them
                                                                                                                          them

                                   9 to be true.
                                     to be true. If
                                                 If called
                                                    called as
                                                           as aa witness,
                                                                 witness, II could
                                                                             could and
                                                                                    and would
                                                                                        would competently
                                                                                                 competently testify
                                                                                                             testify to
                                                                                                                     to the
                                                                                                                        the

10 matter
   matter stated
           stated herein.
                  herein.
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                                    OONONM-bWNl—‘OKOOONONM-bWNl—‘O




11        2.
          2.     In
                 In March
                    March 2024,
                          2024, II engaged
                                   engaged in
                                           in significant
                                              signiﬁcant efforts
                                                          efforts to
                                                                  to engage
                                                                     engage experts
                                                                            experts to
                                                                                    to

12 assist
   assist in
          in Plaintiffs’ preparation of
             Plaintiffs’ preparation of this
                                        this case.
                                             case. Because
                                                   Because an
                                                           an order
                                                               order granting
                                                                     granting leave
                                                                              leave to
                                                                                     to file
                                                                                        ﬁle

13 the proposed amended
   the proposed   amended complaint     would change
                             complaint would   change issues
                                                      issues in
                                                             in contention
                                                                contention and  the scope
                                                                            and the scope

14 of
   of any
      any engagement,
          engagement, II ultimately
                         ultimately deferred
                                     deferred expert
                                               expert engagement   until after
                                                      engagement until         the hearing
                                                                         after the hearing

15 on
   on Plaintiffs’
      Plaintiffs’ motion
                  motion for
                         for leave
                             leave to
                                   to file
                                      ﬁle an
                                           an amended
                                              amended complaint.
                                                        complaint.
                                                                           3.
                                                                           3.     On
                                                                                  On May
                                                                                     May 15,
                                                                                         15, 2024,
                                                                                             2024, this
                                                                                                   this Court
                                                                                                        Court denied
                                                                                                              denied leave
                                                                                                                     leave to
                                                                                                                           to file the proposed
                                                                                                                              ﬁle the  proposed
16
                                                                     amended
                                                                     amended complaint.
                                                                             complaint.
17
                                                                           4.
                                                                           4.     Additionally, on
                                                                                  Additionally, on May
                                                                                                   May 15,
                                                                                                       15, 2024,
                                                                                                           2024, the
                                                                                                                 the Court
                                                                                                                     Court issued
                                                                                                                           issued the
                                                                                                                                  the scheduling
                                                                                                                                      scheduling order
                                                                                                                                                 order
18
                                                                     (“Scheduling
                                                                     (“Scheduling Order”).
                                                                                  Order”).
19
                                                                           5.
                                                                           5.     II welcomed
                                                                                     welcomed aa new
                                                                                                 new child—my
                                                                                                     child—my sixth—in
                                                                                                              sixth—in June
                                                                                                                       June 2024.
                                                                                                                            2024.
20
                                                                           6.
                                                                           6.     The
                                                                                  The Parties
                                                                                      Parties exchanged
                                                                                              exchanged Initial
                                                                                                        Initial Disclosures
                                                                                                                Disclosures on
                                                                                                                            on August
                                                                                                                               August 5,
                                                                                                                                      5, 2024.
                                                                                                                                         2024.
21
                                                                           7.
                                                                           7.     Despite
                                                                                  Despite my best efforts
                                                                                          my best efforts to
                                                                                                          to maintain
                                                                                                             maintain my
                                                                                                                      my existing
                                                                                                                         existing case
                                                                                                                                  case load,
                                                                                                                                       load, it
                                                                                                                                             it gradually
                                                                                                                                                gradually
22
                                                                     became
                                                                     became clear that II would
                                                                            clear that    would be
                                                                                                be unable
                                                                                                   unable to
                                                                                                          to maintain
                                                                                                             maintain all
                                                                                                                      all the
                                                                                                                          the cases
                                                                                                                              cases II was representing and
                                                                                                                                       was representing and
23 that
   that II would
           would need
                 need to
                       to have
                          have clients
                               clients seek
                                        seek new
                                             new counsel.
                                                  counsel.
24         8.
           8.    In
                 In or
                    or about
                        about August
                              August 2024,
                                       2024, II advised
                                                advised the
                                                        the Plaintiffs
                                                            Plaintiffs of
                                                                       of the
                                                                          the foregoing
                                                                              foregoing and
                                                                                        and
25 that they would
   that they would need to secure
                   need to secure new
                                  new counsel.
                                       counsel.
26        9.
          9.   II had
                  had anticipated
                      anticipated that
                                   that Plaintiffs
                                        Plaintiffs would be able
                                                   would be      to find
                                                            able to ﬁnd competent
                                                                         competent
27 counsel
   counsel relatively
           relatively quickly. Unfortunately, II underestimated
                      quickly. Unfortunately,    underestimated the
                                                                the challenges
                                                                    challenges of
                                                                               of
28 securing
   securing new
            new counsel.
                counsel.

                                                                                                               22
                                                                                                 DECLARATION
                                                                                                 DECLARATION OF
                                                                                                             OF LEVI
                                                                                                                LEVI LESCHES
                                                                                                                     LESCHES
                                                                    Case 2:21-cv-02116-CBM-KES        Document 104-2            Filed 02/21/25                      Page 3 of 3 Page
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                                   1                                      10.
                                                                          10.      II do not intend
                                                                                      do not        to waive
                                                                                             intend to       privileges relating
                                                                                                       waive privileges relating to
                                                                                                                                 to the
                                                                                                                                    the efforts
                                                                                                                                        efforts to
                                                                                                                                                to find
                                                                                                                                                   ﬁnd
                                 ©00\lO\U‘I-l>LNNr—t




                                   2 replacement
                                     replacement counsel.
                                                 counsel. To
                                                          To avoid
                                                             avoid waiver
                                                                   waiver of privilege, II will
                                                                          of privilege,    will limit myself to
                                                                                                limit myself to noting
                                                                                                                noting

                                   3 that:
                                     that:
                                                                                a.
                                                                                a. Such
                                                                                   Such efforts
                                                                                        efforts turned
                                                                                                turned out
                                                                                                       out to be significantly
                                                                                                           to be signiﬁcantly more
                                                                                                                               more difficult
                                                                                                                                    difﬁcult than
                                                                                                                                              than
                                   4
                                                                                   anticipated;
                                                                                   anticipated; and
                                                                                                and
                                   5
                                                                                b. There
                                                                                b. There is
                                                                                         is aa broad
                                                                                               broad and varied range
                                                                                                     and varied range of
                                                                                                                      of complex
                                                                                                                         complex issues
                                                                                                                                 issues associated
                                                                                                                                        associated with
                                                                                                                                                   with
                                   6
                                                                                   Plaintiffs’
                                                                                   Plaintiffs’ various
                                                                                               various actions—antitrust
                                                                                                       actions—antitrust claims,
                                                                                                                         claims, franchising
                                                                                                                                 franchising claims,
                                                                                                                                             claims,
                                   7
                                                                                   Unruh Act discrimination
                                                                                   Unruh Act discrimination claims,
                                                                                                            claims, and
                                                                                                                    and accounting
                                                                                                                        accounting claims—as well as
                                                                                                                                   claims—as well as
                                   8
                                                                                   procedural complexity
                                                                                   procedural complexity that
                                                                                                         that is
                                                                                                              is associated with the
                                                                                                                 associated with the three
                                                                                                                                     three separate
                                                                                                                                           separate
                                   9
                                                                                   proceedings between
                                                                                   proceedings between the parties.
                                                                                                       the parties.
10
NNNNNNNNNi—li—li—li—li—li—li—li—li—li—l
                                    OONQM-bWNi—‘OKOOONONM-bWNi—‘O




                                                                          11.
                                                                          11.      The
                                                                                   The efforts
                                                                                       efforts to procure replacement
                                                                                               to procure replacement counsel
                                                                                                                      counsel took
                                                                                                                              took significantly
                                                                                                                                   signiﬁcantly longer
                                                                                                                                                 longer
11 than
   than anticipated.
        anticipated.
12       12.
          12. Because
                Because II had
                           had anticipated
                               anticipated that
                                           that Plaintiffs
                                                Plaintiffs would be able
                                                           would be      to find
                                                                    able to ﬁnd
13 competent
   competent counsel     relatively quickly,
                counsel relatively  quickly, II failed to advise
                                                failed to advise Plaintiffs
                                                                  Plaintiffs that
                                                                             that deadlines
                                                                                  deadlines
14 relating
   relating to
            to expert
               expert disclosures
                      disclosures and  the discovery
                                   and the discovery cut-off   were accruing.
                                                       cut-off were accruing.
15                                                                        13.
                                                                          13.      II had
                                                                                      had also been operating
                                                                                          also been           under the
                                                                                                    operating under the misapprehension
                                                                                                                        misapprehension that
                                                                                                                                        that II had
                                                                                                                                                had sent
                                                                                                                                                    sent
16 Plaintiffs
   Plaintiffs aa copy
                 copy of the Scheduling
                      of the Scheduling Order.
                                        Order. II would
                                                  would ordinarily
                                                        ordinarily have
                                                                   have sent
                                                                        sent that
                                                                             that order
                                                                                  order
17 to
   to aa client
         client in the ordinary
                in the ordinary course, but II had
                                course, but    had inadvertently
                                                   inadvertently failed to do
                                                                 failed to do so.
                                                                              so.
18                                                                        14.
                                                                          14.      II therefore
                                                                                      therefore do not believe
                                                                                                do not believe that
                                                                                                               that Plaintiffs were aware
                                                                                                                    Plaintiffs were aware of the Scheduling
                                                                                                                                          of the Scheduling
19 Order.
   Order.

20        15.
          15.                                                                      Significant
                                                                                   Signiﬁcant efforts
                                                                                               efforts were
                                                                                                       were invested
                                                                                                            invested into
                                                                                                                     into the prosecution of
                                                                                                                          the prosecution    this case.
                                                                                                                                          of this case. As
                                                                                                                                                        As

21 stated,
   stated, Plaintiffs’
           Plaintiffs’ efforts
                       efforts to
                               to obtain
                                  obtain expert
                                         expert witnesses
                                                witnesses commenced
                                                          commenced even      prior to
                                                                        even prior  to the
                                                                                       the

22 issuance
   issuance of
             of the
                the case
                    case scheduling
                         scheduling order.
                                     order. However,
                                            However, due
                                                      due to the forgoing
                                                          to the forgoing circumstances,
                                                                          circumstances,
                                                                    such
                                                                    such efforts
                                                                         efforts came to aa standstill
                                                                                 came to    standstill due to my
                                                                                                       due to my own personal circumstances.
                                                                                                                 own personal circumstances.
23
                                                                          Pursuant to 28
                                                                          Pursuant to 28 U.S.C.
                                                                                         U.S.C. §§ 1746,
                                                                                                   1746, II declare under penalty
                                                                                                            declare under penalty of perjury that
                                                                                                                                  of perjury that II have
                                                                                                                                                     have
24
                                                                    read the foregoing
                                                                    read the foregoing declaration
                                                                                       declaration and
                                                                                                   and that the facts
                                                                                                       that the facts stated
                                                                                                                      stated in
                                                                                                                             in it
                                                                                                                                it are
                                                                                                                                   are true.
                                                                                                                                       true.
25
                                                                          Executed
                                                                          Executed February
                                                                                   February 21,
                                                                                            21, 2025,
                                                                                                2025, at
                                                                                                      at Los
                                                                                                         Los Angeles
                                                                                                             Angeles County,
                                                                                                                     County, California.
                                                                                                                             California.
26                                                                                                                                        Digitally signed by Levi Lesches
                                                                                                                                          DN: cn=Levi Lesches, c=US,


27                                                                                                                                        o=Lesches Law,
                                                                                                                                          email=levi@lescheslaw.oom
                                                                                                             By:
                                                                                                             By.
                                                                                                                . _____________________
                                                                                                                               Date: 2025.02.21 14:55:22 -08'00'


28                                                                                                                  Levi
                                                                                                                    Levi Lesches,
                                                                                                                         Lesches, declarant
                                                                                                                                      declarant

                                                                                                                 33
                                                                                                  DECLARATION
                                                                                                  DECLARATION OF
                                                                                                              OF LEVI
                                                                                                                 LEVI LESCHES
                                                                                                                      LESCHES
